Case: 1:20-cv-00604 Document #: 32 Filed: 10/12/21 Page 1 of 2 PagelD #:96

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TRUSTEES OF THE CHICAGO REGIONAL

COUNCIL OF CARPENTERS PENSION FUND, et al

Case No. 20 CV 604
Plaintiffs,

VS.

Judge Kennelly

ICONIC FINISHES, LLC.

Defendants.

JOINT MOTION FOR REINSTATEMENT AND JUDGMENT

Now come Plaintiffs, the Trustees of the Chicago Regional Council of Carpenters
Pension Fund, et al., by their attorney, Nicholas E. Kasmer, of McGann, Ketterman, &
Rioux, and the Defendant, Iconic Finishes, LLC., by its attorney, Todd Miller of Allocco
Miller and Cahill, P.C., respectfully requests that this Honorable Court reinstate the case
and enter final Judgment for the amounts requested. In support of the motion, the

parties state as follows:

1. Plaintiffs filed their complaint on January 27, 2020, and good service of
summons occurred on February 5, 2020.

2. At all times relevant to this action, the Defendant has been bound by the
provisions of a Collective Bargaining Agreement and the Trust Agreements which
created the Trust Funds.

3. This action arises under Section 502 of the Employee Retirement Income
Security Act and Section 301 of the Taft-Hartley Act. (29 U.S.C. §§1132 and 185).
Jurisdiction is founded on the existence of questions arising thereunder.

4. Plaintiffs filed this complaint to complete an audit of the Defendant's

books and records to determine if any additional contributions are owed as well as to

1

 

 
Case: 1:20-cv-00604 Document #: 32 Filed: 10/12/21 Page 2 of 2 PagelD #:97

collect said contributions along with liquidated damages, interest, auditor fees, and

attorneys fees/costs.

5. Following completion of the audit, the Plaintiffs and Defendant settled
this matter in December 2020 and this matter was dismissed with prejudice with leave

to reinstate on or before March 1, 2024.

6. The Defendant breached the parties’ settlement by failing to make the

required payments.

7. The Defendant owes $228,131.53 in contributions, $45,626.30 in liquidated
damages, $24,014.74 in interest, $1,372.50 in auditor fees, and $17,386.86 in attorneys

fees and costs.
8, The total owed in the matter is $316,531.93.

WHEREFORE, the parties pray that this matter be reinstated for purposes of entering a
judgment in favor of the Plaintiffs in the amount of $316,531.93 against the Defendant,
Iconic Finishes, LLC.

By: /s/ Nicholas E. Kasmer /s/ Todd Miller
Attorney for Plaintiffs Attorney for the Defendant
Prepared by

Nicholas E. Kasmer

McGann Ketterman and Rioux
111 East Wacker Drive, Suite 2600
Chicago, IL 60601

T: (912) 251-9700 F: (812) 251-9701
